Case 3:20-cr-00249-RS _DocumBeas6¥5-18 Filed 06/06/25 Pagel1of1
"David Salmon"

"Roland Marcus Andrade" iii

‘Sheila Sneed" as

2/1/2018 9:59:21 AM
RE: Fund transfer approved regarding Block Bilts Capital $850K deposit and sale of coins.

Karl,
Thanks for the $850,000.00 authorization.

Out of this 2"4 disbursement authorization the following transactions have, or will by the end of the day, take place:

Wire Transfer to NAC Foundation on 1-27-18 for $50,000.00

Wire Transfer to NAC Foundation on 1-28-18 for $50,000.00

Wire Transfer to Craft Media/Digital on 2-1-18 for $95,000.00

Cashier’s Check for legal fees to DS & Assoc. for Invoice #1497 on 2-1-18 for $15,270.15
Wire Transfer for NAC Foundation on 2-1-18 for the $639,729.85 balance

The above amounts total the $850,000.00 authorized. Please do not hesitate to contact us if you have any
questions. Thanks.

From: Kar! Fi

Sent: Wednesday, January 31, 2018 1:53 PM

To: Roland Marcus Andrade in O2 vid Salon i

Subject: Fund transfer approved regarding Block Bilts Capital S850K deposit and sale of coins.

Dear David,

We have evaluation the invoices showing a “zero balance” due (meaning customers’ coins have been
distributed for the full amount they paid) for Block Bits Capital, Invoice # 3298, for $850,000.00. There were
no discrepancies between the invoice tested to bank deposit register. Based on our results we can advise you
to distribute up to $850,000.00 from your NAC’s trust bank account to NAC’s Wells Fargo business bank
account per the instructions you have rec’d for doing wire transfers.

Please contact me or Marcus if you have any questions.

Sincerely,

Karl Ruzicka, CPA

Karl Ruzicka, CPA

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